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                         IN THE UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF ARKANSAS
                                 FAYETTEVILLE DIVISION

     UNITED STATES OF AMERICA                                              PLAINTIFF

                 v.          Criminal Case No. 09-50103

     MANUEL A. GAXIOLA                                                     DEFENDANT

                                         O R D E R

           Now on this 29th day of June, 2012, come on for consideration

     the following:

           *     defendant's Application To Proceed In District Court

     Without Prepaying Fees Or Costs ("IFP Motion") (document #98);

           *     the Magistrate Judge' Report And Recommendation ("R&R")

     (document #99); and

           *     Petitioner's      Objections      Pursuant     To   28    U.S.C.      §

     636(b)(1) ("Objections") (document #100);

     and from these documents, and other matters appearing in the

     docket of this case, the Court finds as follows:

           1.    Defendant Manuel A. Gaxiola ("Gaxiola") pled guilty to

     one count of a seven count Indictment, charging him with aiding

     and abetting distribution of a controlled substance.                     He was

     sentenced to 120 months' incarceration, five years' supervised

     release, $25,000 fine, and $100 special assessment.

           2.    Gaxiola appealed his sentence, which was affirmed.                    He

     then filed a petition for relief under 28 U.S.C. § 2255, which

     authorizes collateral attack on sentences by prisoners in custody
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     under sentence of a United States District Court.                He contended

     that he received ineffective assistance of counsel because his

     defense attorney "failed to argue the breach of the plea agreement

     by the government."        The breach, according to Gaxiola, was that

     the government advocated for an enhanced sentence under U.S.S.G.

     § 3B1.1. (which authorizes sentence enhancement for a defendant

     who had a leadership role in the offense) when the Plea Agreement

     did not mention such an enhancement.

             3.    Gaxiola's § 2255 petition was referred to United States

     Magistrate Judge James R. Marschewski, who filed a Report And

     Recommendation. Judge Marscheski reported that there is no breach

     of a plea agreement when the government seeks an enhancement and

     the plea agreement is silent in that regard, and thus failure to

     raise the argument could not have been ineffective assistance of

     counsel. He recommended that Gaxiola's petition be dismissed with

     prejudice.

             4.    The Court adopted the Report And Recommendation, and

     dismissed Gaxiola's petition.

             5.    Gaxiola filed a Notice Of Appeal following the Court's

     denial of his petition under 28 U.S.C. § 2255.             This document was

     also treated as a motion for a Certificate of Appealability

     ("COA").      In denying the COA, this Court found that Gaxiola had

     filed    to   make    a   substantial   showing      of   the   denial    of     a

     constitutional right, as required by 28 U.S.C. § 2253(c)(2).


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           6.     Gaxiola    also   filed      the   IFP    Motion     now    under

     consideration.      This motion was referred to Magistrate Judge Erin

     L. Setser, who recommended, in the R&R, that leave to appeal in

     forma pauperis be denied because Gaxiola did not have a COA, a

     jurisdictional prerequisite to his appeal.

           7.     Gaxiola objects to the R&R because this Court, in

     denying the COA, "did not indicate whether or not an appeal of the

     court's order would be taken in good faith."            He cites 28 U.S.C.

     § 1915(a)(3), which provides that "[a]n appeal may not be taken in

     forma pauperis if the trial court certifies in writing that it is

     not taken in good faith."

           8.     Gaxiola's argument has some foundation in the law, in

     that "good faith" under § 1915(a)(3) is not the same thing as "a

     substantial showing of the denial of a constitutional right" under

     § 2353(c)(2).       The latter is a higher standard than the former.

     Kramer v. Kemna, 21 F.3d 305, 307 (8th Cir. 1994).                       Thus,

     conceivably, a § 2255 petitioner might appeal in good faith even

     though he has failed to make a substantial showing of the denial

     of a constitutional right.

           9.     Notwithstanding the foregoing, the Court will overrule

     Gaxiola's objections.      "Good faith" for purposes of § 1915(a)(3)

     means that, viewed objectively, the issues on appeal are not

     frivolous.    Coppedge v. U.S., 369 U.S. 438, 445 (1962).            A review

     of this Court's Order denying the § 2255 petition (document #91)

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     reveals that one of the two issues asserted by Gaxiola is disposed

     of by direct precedent in this Circuit, and the other is disposed

     of by multiple provisions in the Plea Agreement he signed.

     Moreover, at no time has Gaxiola ever articulated any basis,

     factual or legal, for his claim that he can make a substantial

     showing of the denial of a constitutional right.                Even in his

     Objection to the R&R, he simply recites the § 2253(c)(3) standard.

           10.    For these reasons, the Court finds that Gaxiola's appeal

     is frivolous, and therefore not taken in good faith.              That being

     the case, there is no basis to allow him to appeal in forma

     pauperis, and the Court finds that the R&R denying that status is

     correct, and should be adopted.

           IT IS THEREFORE ORDERED that the Magistrate Judge' Report And

     Recommendation (document #99) is adopted in toto.

           IT IS FURTHER ORDERED that Petitioner's Objections Pursuant

     To 28 U.S.C. § 636(b)(1) (document #100) are overruled.

           IT IS FURTHER ORDERED that defendant's Application To Proceed

     In District Court Without Prepaying Fees Or Costs (document #98)

     is denied.

           IT IS SO ORDERED.

                                             /s/ Jimm Larry Hendren
                                            JIMM LARRY HENDREN
                                            UNITED STATES DISTRICT JUDGE




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